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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

    TINITED STATES OF AMERICA.                                rNDrcrMENr        CL lq 3bq fZHf/aU
                          Plaintiff,                          (18 u.s.c. $ 371)
                                                              (18 U.s.C. $ ezz(eXl))
             V.                                               (18 U.S.C. $ e22(aX6))

    l.       VELTREZ BLACK,
             alWa"Chief,"
    2.       TYWIN BENDER,
             a/Wa"Finn Winn,"
    a
             NITELEN JACKSON.
             alWa"King Nite,"
                                                                                                      '-r1."-
    4.       DONTEVIUS CATCHINGS.                                                        .   1 :..   : { i.i
                                                                                                              i-:


             alWa"Lil Snake,"
    5.       CINQUE OWENS,
/ 6.-
I

             JABARI JOHNSON,
    7.       DARRYL PARKER,
             alWa"Thirsty,"
    8.       MARQUIS WOODS,
             a/k/a "Quis Moe,"
    9.       MARQUES ARMSTRONG,           ,

             alWa"Lil Kease,"
    10.      DEONTAY JONES, and
    I   l:   LAKESHA COLEMAN

                          Defendants.

             THE UNITED STATES GRAND JURY CHARGES THAT:

                                             COUNT'1
                           (Conspiracy - Felon in Possession of Firearms)

             From on or about at least January 1,2010, through the present, in the State and

    District of Minnesota and elsewhere. the defendants.




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                                   VELTREZBLACK,
                                      alWa"Chief,"
                                    TYWIN BENDER,
                                    alWa"Finn Winn,"
                                  NITELEN JACKSON,                .

                                    alWa"King Nite,"'
                                DONTEVIUS CATCHINGS,
                                    alWa"Lil Snake"
                                   CINQUE OWENS,
                                  JABARI JOHNSON,
                                  DARRYL PARKER,
                                     alwa "Thirsty,"
                                  MARQUIS WOODS,
                                    a/Wa"Quis Moe,?'
                                MARQUES ARMSTRONG,
                                    a/Wa"Lil Kease,"
                                 DEONTAY JONES, and
                                 LAKESHA COLEMAN.

knowingly and intentionally conspired with each other and with others to violate Title            18,


United States Code, Section 922(g)(l), which makes it a federal crime to be a felon in

possession of a firearm, all in violation of   Title 18, United       States Code, Section 371.

               BACKGROUND AND PURPOSE OF THE CONSPIRACY

       1.     During the time-frame of the conspiracy, the defendants organized and

maintained two closely associated street gangs known as the 1-9 gang (also known as the

1-9 Dipset and the 1-9 Vice Lords) and the Stick Up Boys gan5, also known as SUB.

The current leader of   the l-9 gangis Veltrez Black. The current            leaders of the Stick Up

Boys gang are Tywin Bender, Nitelen Jackson, and Dontevius Catchings. Defendants

Jabari Johnson and Darryl Parker ur. prorninent members of the 1-9 gang. Defendants

Cinque Owens, Marquis Woods, and Marques Armstrong are prominent members of the




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Stick Up Boys gang.        All of the aforesaid defendants are convicted felons,.except
Marques Armstrong. The two gangs coordinated their illegal activities.

          2.    The purpose of the gangs was to make money for the gang members

through criminal acts including armed robberies, drug dealing, and thefts.

          3.    Another purpose of the gangs was to obtain, possess, and use firearms. The

defendants obtained firearms       in a variety of ways, including thefts, trading drugs for

gu.ns, and use   of straw'purchasers. The straw purchasers were            associates who had no

felony convictions and could lawfully purchase firearms. They purchased guns in their

own names that were then transferred to members of the             l-9 and Stick Up Boys   gangs,

including the members who are felons, The straw purchasers sometimes falsely reported

to the police that the guns they purchased had been stolen from them, in order to explain

why the guns no longer were in their possession. In addition to the straw purchasers,

members of the I -9 and Stick Up Boys gangs who were not felons facilitated the illegal

possession     of firearms by those members who were convicted felons by                providing

locations to store the firearms and by otherwise holding guns for them. ,

          4.    During the period of the indictment, the 1-9 and Stick Up Boys gangs were

in a gang war with two rival gangs known          as the   Taliban'and the Yl.lT, which stands for

"Young 'N Thuggin'." This gang war resulted in the shooting deaths of numerous gang

members on both sides of the conflict including 1-9 gang members Tyrone Washington,

a/Wa"Ty Crack," Dacari Starr, aldao'Pudda Loc," Haywood Eaton, and Juwon Osborne,

a/k/a "Skitz." Murder victims from the Taliban and YNT gangs included Derrick Martin,

a./k/a   "D-Nice," and Kyle Park   er,   a/Wa"K-Top." In addition to murders, several gunsliot
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           woundings resulted from this gang war including the wounding of at least five        l-9   or

           Stick Up Boys gang members, and at least four Taliban or YNT gang members.

                  5.     Due to the ongoing gang war, and the need for weapons to conduct the
     ..    other illegal activity described above, the members of the   l-9 and Stick Up Boys gangs,

           as well as their straw purchasers, conspired to illegally obtain and jointly       possess


           firearms.




                  ouring and in      furtheranc.ffi             iracy,the defendants committed the

           following. overt acts, among others:

                  6.      Straw purbhases by Deontay Jones. In the'three-month period between July
                                      r.

           28, 2013 and October       3l,   2013, defendant Deontay.Jones purchased    four   separate

           firearms. He subsequently rnade false police reports claiming that all four guns were

          . stolen from him in two separate burglaries of his residence. However, at least two of the

           guns were provided    to l-9    gang members. On May 6,2014, 1-9 gang member D.W., a

           convicted felon, was caught in possession of the Smith and Wesson .40 caliber        semi-      r


           automatic pistol that Deontay Jones purchased on October3l,2013. D.W. is Deontay

           Jones' cousin. On June 4,2014,1-9 gang member J.T., a convicted felon, was caught          in       r




           possession   of the Ruger 9 mm semi-automatic pistol that Deontay Jones purchased on

           September 11,2013.

                  7.      Straw purchases by Lakesha Coleman. During the three-month period

           between February 1,2014 and       April 18,2}l4,defendant   Lakesha Coleman purchased six


i'         separate firearms.   At   least one   of those guns was provided to Stick Up Boys gang
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members. On Octob             f,   ,OtO, an FMK 9 mm semi-automatic pistol that Laicesha
                         ",
Coleman purchased on     April         18, 2014 was recovered by Minneapolis police after ashots-

fired call at 3341 Oliver Avenue North, in Minneapolis, which is the residence of Stick

Up Boys gang member Marques Armstrong.

          8.     During the period          of   the .,conspiracy, Marques Armstrong made his
                                                                      :

residence at 3341 Oliver Avenue North, Minneapolis, Minnesota available as a meeting
                 '(
place for other members of the 1-9 and Stick Up Boys gangs, and as a place for them to

store their guns.

          9.     On January 2,2013, Nitelen Jackson possessed a Glock .40 caliber semi-

automatic handgun at his residence on Lyndale Ave. N. in Minneapolis.

          10.    On or about January 25,2013, Tywin Bender, alWa"Finn Winn," used a

firearm to commit an aggravated robbery against a person who was trying to sell an I-

phone on Craigslist.

          11.    On or about January 31,2013, Tywin Bender, alWa"Finn Winn" possessed

a firearm during an arrest.
 \


          .12.   On or about December 12,2013, Veltrez Black unlawfully possessed seven

firearms at his residence as a convicted felon

          13.    On or about    April 28, 2014, Marques Armstrong unlawfully possessed             a


Sturm Ruger .22 caliber pistol and a Smith               &   Wesson .357 caliber revolver during   a


traffic   stop.                    ,

          14.    On or about May 21,2014, Dontevius Catchings and Marques Armstrong

attempted to rob a third party at the third        Ouy"      residence ivhile armed with a gun. This

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incident resulted in the wounding of the intended robbery victim. In the following days,

Marques Armstrong was arrested in possession of a stolen semi-automatic pistol with a

30-round magazine. Dontevius Catchings was arrested with the cell phone taken from

the victim during the robbery attempt.
  '\?

        15.   On or about September 20,2014, Cinque Owens unlawfully possessed                     a


Grendel .380 caliber semi-automatic pistol as a convicted felon

        16.   On or about October 23,2014, Marques Armstrong unlawfully carried                    a


pistol in public without   a   permit.

                                             COUNT 2

                                 (Felon in Possession of a Firearm)

        On or about   April 22,2014,in the State       and District of Minnesota, the defendant,

                                         VELTREZBLACK,
                                         ,   alWa "Chief,"

having previously been convicted of the following crimes, each of which was punishable

by imprisonment for a term exceeding one year:

Offense                             Court                            Date of Conviction (on or
                                                                     about)  .


Aiding and Abetting an              Hennepin County,                 November 19,2007
Offender to Avoid Arrest            Minnesota
First Degree Aggravated             Hennepin County,                 May 27,2008
Robberv                             Minnesota


knowingly possessed, in and affecting interstate commerce, a Smith                & Wesson .40
caliber semi-automatic pistol, serial number DWA 2128, in violation of Title 18, United

States Code, Sections 922(e)0)       and924(a)(2). ,            -




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                                            COUNT 3
                                (Felon in Possession of a Firearm)

       On or about April 5,2012, in the State and District of Minnesota, the defendant,

                                    NITELEN JACKSON,
                                      alWa"King Nite,"

having previously been convicted of the following crimes,      ,uri   of which was punishable

by imprisonment for a term exceeding one year:

Offense                           Court                          Date of Conviction (on or
                                                                 about)
Theft of a Motor Vehicle          Hennepin County,               April 6,2010
                                  Minnesota
Receivins Stolen Property         Hennepin County                October t4.2010


knowingly possessed, in and affecting interstate commerce, a Glock .40 caliber semi-

automatic pistol, serial number CVK525US, in violation of Title 18, United States Code,

Sections   g22(g(l)   and 924(a)(2).

                                             Count 4
                                (Felon in Possession of a Firearm)

       On or about May 21,2014: in the State and District of Minnesota, the defendant,

                                 DONTEVIUS CATCHINGS,
                                     alWa"Lil Snake."

having previously been convicted         of the following crime, which was      punishable by

imprisonment for a term exceeding one year:

Offense                            Court                         Date of Conviction (on or
                                                                 about)
Felony Carrying a Pistol          Hennepin County,               April 30,2013
Without a Permit                  Minnesota
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knowingly possessed, in and affecting interstate commerce, a semi-automatic handgun, in

violation of Title 18, United States Code, Sections 922(g(l) and 92a@)Q).

                                 .            Count   5
                                 (Felon in Possession of a Firearm)

       On or about June 3, 2014, in the State and District of Minnesota, the defendant,

                                       JABARI JOHNSON.

having previously been convicted of the following crimes, each of which was punishable         .




by imprisonment for a term exceeding one year:

Offense                              Court                         Date of Conviction (on or
                                                                   about)
Second Degree Possession    of
                             Hennepin County,                       October 14,2009
a Controlled Substance       Minnesota
Fifth Degree Possession of a Hennepin County,                          October 14,2009
Controlled Substance         Minnesota


knowingly possessed, in and affecting interstate commerce, a Smith and Wesson 9 mm

semi-automatic pistol, serial number PDY0891, in violation of Title 18, United States

Code, Sections   922(g(I)   and 924(a)(2).

                                             COUNT        6
                                 (Felon in Possession of a Fir'earm)

       On or about Novembet 12, 2012, in the State and District of Minnesota, the

defendant,

                                       DARRYL PARKER,
                                         a/k/a"Thirsty,"

having previously been convicted          of the following crime, which was punishable    by

imprisonment for a term exceeding one year:
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Offense                            Court                          Date of Conviction (on or
                                                                  about)
Third Degree Possession     of     Hennepin County,               January 5,2010
a Controlled Substance             Minnesota


knowingly possessed, in and affecting interbtate commerce, a Thompson .45 caliber'semi-

automatic pistol, serial number 807648, in violation of         Title 18, United States Code,

Sections   922(g(l)   and 924(a)(2).

                                            COUNT     7
                                 (Felon in Possession of a Firearm)

       On or about August 6,2014,in the State and District of Minnesota, the defendant,

                                       MARQUTS WOODS,
                      .                 a/k/a'oQuis Moe,"

having previously been convicted         of the following crime, which was punishable     by

imprisonment for a term exceeding one year:

Offense                            Court                          Date of Conviction (on or
                                                                  about)
Fifth Degree Sale of               Hennepin County,               July 25,2011
Controlled Substance               Minnesota


knowingly possessed, in and affecting interstate commerce, the following firearms:          a


Glock .40 caliber semi-automatic pistol, serial number MYR865, a Glock .40 caliber

semi-automatic pistol, serial number MSP574; and a Bersa .380 caliber semi-automatic

pistol, serial number 887-637, in violation of Title 18, United States Code, Sections

s22(g(r) ande24(ax2).
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                                          COUNT 8
                        (False Statement During Purchase of a Firearm)

       On or about July 28, 2013, in the State and District of Minnesota, the defendant,

                                  ,    DEONTAYJONES,

in connection with the acquisition of a Ruger .380 caliber semi-automatic pistol, serial

number 377.-89555, from        Bill's Gun   Shop, a licensed dealer of firearms, knowingly made

a false and fictitious written statement to     Bill's Gun Shop, which statbment was intended

and likely to deceive   Bill's Gun    Shop as to a fact material to the lawfulness of the sale   of

the firearm to the defendant, in that the defendant represented that he was the actual

buyer of the firearm, when in fact he was purchasing the firearm on behalf of another

person; all in violation of Title 18, United States Code, Sections g22(a)(6) and924(a)(2).

                                              COUNT      9
                        (False Statement     D;Gffi;hase      of   a Firearm)


       On or about September          ll,   2013,   in the State and District of Minnesota,   the

defendant,

                                       DEONTAY JONES,

in connection with the acquisition of a Smith and Wesson 9 mm semi-automatic pistol,
                                                                                   .




serial number HEW0498, and a Ruger 9 mm semi-automatic pistol, serial number 318-

83055, from Mills Fleet Farm, a licensed dealer of firearms, knowingly made a false and

fictitious written statement to Mills Fleet Farm, which statement was intended and likely

to deceive Mills Fleet Farm as to a fact material to the lawfulness of the sale of the

firearm to the defendant, in that the defendant represented that he was the actual buyer of



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the firearm, when in fact he was purchasing the firearm on behalf of another person; all                               1n



violation of Title 18. United               State s C ode,   S   ecti ons 922(a)   (6) and 924 (a) (2) .

                                                       COUNT 10
                                     (False Statement During Purchase of a Firearm)

        On or      about October               31, 2013, in the State and District of Minnesota,                      the

defendant,

                                                    DEONTAY JONES,

in connection with the acquisition of a Smith and Wesson .40 caliber semi-automatic

pistol, serial number HEY26I2, from Mills Fleet Farm, a licensed dealer of firearms,
                            'i

knowingly made a false and fictitious written statement to Mills Fleet Farm, which

statement was intended and likely to deceive Mills Fleet Farm bs. to a fact material to the

lawfulness of the sale of the firearm to the defendant, in that the defendant represented

that he was the actual buyer of the firearm, when in fact he was purchasing the firearm on

behalf of another person; all in violation of Title 18, United States Code, Sections

e   22(a)(6)   and 92   4    (a) (2)    .


                                                .      COUNT           I.1.
                                     (False Statement During Purchase of a Firearm)

         On or about February I,'2014, in the Stbte and District of Minnesota,                                        the

defendant,

                                               LAKESHA COLEMAN.

in connection with the acquisition.of a Cobra .380 caliber semi.automatic pistol, serial

number FS080307, from Guns                          of Liberty        Trading,     a   licensed dealer     of   firearms.

knowingly made                   a   false ahd fictitious written statement to Guns of Liberty Trading,

                                                                 1l
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which statement was intended and likely to deceive Guns of Liberty Trading as to a fact

material to the lawfulness of the sale of the firearm to the defendant, in that the defendant

represented that she was the actual buyer of the firearm, when in fact she was purchasing

the firearm on behalf of another person; all in violation of Title 18, United States Code,

S   ecti ons   922(a)(6) and 924(a)(2).

                                              COUNT      12
                           (False Statement During Purchase of a Firearm)

          On or about     April 12,2014,in   the State and District of Minnesota, the defendant,

                                       LAKESHA COLEMAN,

in connection with the acquisition of a Cobra .380 caliber semi-automatic pistol, serial

number FS084057,                  an SCCY 9 mm semi-automatic pistol, serial number 132710,
                           ?nd
from Guns of Liberty Trading, a licensed dealer of firearms, knowingly made a false and

fictitious written statement to Guns of Liberfy.Trading, which statement was intended

and likely to deceive Guns of Liberty Trading as to a fact material to the lawflulness             of

the sale of the firearm to the defendant, in that the defendant ri:presented that she was the

actual buyer of the firearm, when in fact she was purchasing the firearm oq behalf of

another person; all in violation of        Title 18, United   States Code, Sections 922(a)(6) and

eza@)Q),

                                            COUNT 13
                     ;i    (False Statement During Purchase of a Firearm)

          On or about     April   18,2014,in the State and District of Minnesota, the defendant,

                                       LAKESHA COLEMAN,



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in connection with the acquisition of a Cobra .380 caliber semi-automatic pistol, serial

number FS080932; a Cobra .380 semi-automatic pistol, serial number FS082705; and a

FMK 9 mm semi-automatic pistol, serial number BP069l, from Guns of Liberty Trading,

a licensed dealer of firearms, knowingly made a false and fictitious written statement to

Guns of Liberty Trading, which statement was intended and likely to deceive Guns           of

                   to a fact material to the lawfulness of the sale of the firearm to the
Liberty Trading as to

defendant. in that t he defendant represented that he was the actual buyer of the firearm,

when in fact he was purchasing the firearm on behalf of another person; all in violation   of

Title 18, United States Code, Sections 922(a)(6) and924(a)(2).

                                FORFEITURE ALLEGATIONS

       If convicted of Counts 1 through l3 of this indictment, the defendants,

                                    VELTREZBLACK,
                                         alWa"Chief,"
                                      TYWIN BENDER,
                                      alWa"Finn Winn,"
                                    NITELEN JACKSON,
                                       alWa"King Nite,"
                                 DONTEVIUS CATCHINGS,
                                       alWa"Lil Snake"
                                      CINQUE OWENS,
                                   . JABARI JOHNSON,
                                     DARRYL PARKER,
                                        alWa"Thirsty,"
                                     MARQUTS WOODS,
                                       a/Wa "Quis Moe,"
                                 MARQUES ARMSTRONG,
                                       alWa"Lil Kease,"
                                  DEONTAY JONES, and
                                  LAKESHA COLEMAN.




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shall forfeit to the United States pursuant to Title 18, United States Code, Section

924(d)(l), and Title 28, United States Code, Section 2461(c), any firearm with

accessories or any ammunition involved in or used in any knowing violation of sections

g22(e)0) or 922(a)(6), including the following firearms: a Smith & Wesson .40 caliber

semi-automatic pistol, serial number   DWA     2128; a Glock .40 caliber semi-automatic

pistol, serial number CVK525US; a Grendel Model P10 .380 caliber semi-automatic

pistol; a Smith & Wesson 9 mm semi-automatic pistol, serial number PDY0891;           a


Thompson .45 caliber semi-automatic pistol, serial number E07648; a Glock .40 caliber

semi-automatic pistol, serial number MYR865; a Glock .40 caliber semi-automatic pistol,

serial number MSP574; a Bersa .380 caliber semi-automatic pistol, serial number

887637; a Ruger .380 califer semi-automatic pistol, serial number 377-89555; a Smith

and Wesson 9mm semi-automatic pistol, serial number HEW0498; a Ruger 9 mm semi-

automatic pistol, serial number 318-83055;     a Smith and Wesson.40 caliber semi-
automatic pistol, serial number HEY26|2; a Cobra .380 caliber semi-automatic pistol,

serial number FS080307; a Cobra .380 caliber semi-automatic pistol, serial number

FS084057; an SCCY 9 mm semi-automatic pistol, serial number 132710; a Cobra .380

caliber semi-automatic pistol, serial number FS080932; a Cobra .380 semi-automatic

pistol, serial number FS082705; and a FMK 9 mm semi-automatic pistol, serial number

BP069l.

                                    A TRUE BILL


LTNITED STATES ATTORNEY                         FOREPERSON


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